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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



 United States of America,                           Civil No. 16-cv-2547 (SRN/LIB)

                       Plaintiff,

 v.                                                              ORDER

 William J. Mooney, et al.,

                       Defendants.


SUSAN RICHARD NELSON, United States District Judge

         It has come to the Court’s attention that this case was prematurely dismissed [Doc.

No. 169] prior to the Court entering an order of sale. Accordingly, so that the Court may

do so,

         IT IS HEREBY ORDERED that:

         1. The Court VACATES its Order of November 1, 2018 [Doc. No. 168], with

            respect to the dismissal of this action with prejudice and direction that

            judgment be entered. An Amended Order will follow, reflecting only these

            changes.

         2. The Court directs the Clerk of Court to VACATE the judgment entered on

            November 2, 2018 [Doc. No. 169].


Dated: February 5, 2019
                                            s/Susan Richard Nelson
                                            SUSAN RICHARD NELSON
                                            United States District Judge
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